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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

RESTAURANT LAW CENTER, a non-profit Dis-
trict of Columbia corporation, and TEXAS
RESTAURANT ASSOCIATION, a non-profit
Texas corporation,

                  Plaintiffs

       v.                                           Civil Action No. 1:21-cv-01106

UNITED STATES DEPARTMENT OF LABOR,
HON. MARTIN J. WALSH, Secretary of the
United States Department of Labor, in his of-
ficial capacity; and JESSICA LOOMAN, Acting
Administrator of the Department of Labor’s
Wage and Hour Division, in her official ca-
pacity,

                  Defendants.


 APPENDIX OF EVIDENCE IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION
      FOR PRELIMINARY INJUNCTION AND REQUEST FOR EXPEDITED
                CONSIDERATION AND ORAL ARGUMENT

       Plaintiffs Restaurant Law Center and Texas Restaurant Association (collectively, “Plain-

tiffs”) submit evidence, attached hereto, in support of their Emergency Motion for Preliminary

Injunction and Request for Expedited Consideration and Oral Argument:

       1.      Attached as Exhibit 1 is the Declaration of Emily Knight (“Knight Decl.”), which

contains the following exhibit:

               EXHIBIT A: September 2021 National Restaurant Association COVID-19 Res-
               taurant Impact Survey, Texas Survey Results.

       2.      Attached as Exhibit 2 is a true and correct printout of the Occupational Information

Network (“O*NET”) data for the occupation of “Waiters and Waitresses”.
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       3.      Attached as Exhibit 3 is a true and correct printout of the Occupational Information

Network (“O*NET”) data for the occupation of “Bartender”.

       4.      Attached as Exhibit 4 is a true and correct copy of the U.S. Small Business Admin-

istration’s Office of Advocacy (“SBA Office of Advocacy”) comments to the proposed rule dated

August 20, 2021.

       5.      Attached as Exhibit 5 is the Declaration of Angelo Amador (“Amador Decl.”),

which contains the following exhibit:

               EXHIBIT A: September 2021 National Restaurant Association COVID-19 Res-
               taurant Impact Survey.

       6.      Attached as Exhibit 6 is the Declaration of Tracy Vaught (“Vaught Decl.”).

       7.      Attached as Exhibit 7 is a true and correct copy of 2 WEBSTER’S THIRD NEW INT’L

DICTIONARY 751 (1961 ed.) (“WEBSTER’S”) definitions for “engaged” and “occupation”.

       8.      Attached as Exhibit 8 is a true and correct copy of THE RANDOM HOUSE DICTION-

ARY OF THE   ENGLISH LANGUAGE 473 (1967 ed.) (“RANDOM HOUSE”) definitions for “engaged”

and “occupation”.

       9.      Attached as Exhibit 9 is a true and correct copy of BLACK’S LAW DICTIONARY 622

(4th ed. 1957) (“BLACK’S”) definitions for “engaged” and “occupation”.



Respectfully submitted,


By:    /s/ Greta Ravitsky




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Angelo I. Amador (motion for admission pro
hac vice pending)                            Paul DeCamp (motion for admission pro hac
Restaurant Law Center                        vice pending)
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Greta Ravitsky                               Brian Spang (motion for admission pro hac vice
Epstein Becker & Green, P.C.                 pending)
Two Houston Center                           Kathleen Barrett (motion for admission pro hac
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December 17, 2021




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APPENDIX EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

RESTAURANT LAW CENTER, ET AL.,

                Plaintiffs,

        v.                                               Civil Action No. 21-1106

UNITED STATES DEPARTMENT OF LABOR, ET
AL.,

                Defendants.


                     DECLARATION OF EMILY WILLIAMS KNIGHT

        I, Dr. Emily Williams Knight, Ed.D., hereby declare and state:

        1.      I am the President & CEO of the Texas Restaurant Association (“TRA”), the largest

hospitality association in Texas. I have held my current position since May of 2019. In that capac-

ity, I oversee all of the TRA’s engagement in public affairs and public-policy related matters for

the Texas foodservice industry, and I represent the TRA in matters with the National Restaurant

Association and the Council of State Restaurant Associations. As such, I have in-depth knowledge

of the TRA’s operations, its members, and the facts and circumstances set forth herein.

        2.      I am over the age of 18 years old. All of the facts set forth in this declaration are

based on my personal knowledge. I submit this Declaration in support of Plaintiffs’ Motion for

Preliminary Injunction. If called upon to testify as to the facts stated herein as a witness, I could

and would competently testify under oath.

        3.      The TRA is an independent non-profit organization with its own Board of Direc-

tors, headquartered at 512 E Riverside Drive, Suite 250, in Austin, Texas. Formed in 1937, the

TRA is the leading business association for Texas’ $70 billion restaurant and foodservice industry,




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which includes approximately 50,000 locations and a workforce of 1.3 million employees through-

out Texas (approximately 12% of the state’s employment). The TRA’s members include thousands

of restaurant owners, operators, and staff throughout Texas.

        4.      The TRA’s main purpose is to support the Texas restaurant industry and our mem-

bers in starting, developing, and growing their business. The TRA accomplishes this objective

through numerous channels, including through direct outreach efforts on behalf of our members;

by hosting educational and information meetings, seminars, video news segments, newsletters, and

webinars; by submitting regulatory comments at the federal, state, and local level; and by helping

our members navigate their legal and regulatory obligations. For example, the TRA hosts TRA

Marketplace in Texas each year, which is the largest annual foodservice conference in the south-

west. TRA Marketplace features speakers, seminars, and panels on the important trends and press-

ing challenges facing the restaurant industry. TRA Marketplace also gives restaurant operators a

chance to experience the newest products and services designed to improve restaurant efficiency.

        5.      As President & CEO for the TRA, I serve as the primary spokesperson for the Texas

restaurant industry, and I lead and manage the TRA’s engagement in public affairs and public-

policy-related matters at the state, local, and federal level. I have been integrally involved in all of

the TRA’s major legislative and regulatory initiatives, and I am a key liaison with various restaurant

industry affiliates in Texas. Each of the legislative and regulatory initiatives that I manage require

significant study, time, attention, and TRA resources to analyze potential effects on the Texas res-

taurant industry, gather our members’ concerns, and ultimately persuade policymakers and the pub-

lic to support or oppose the measure. I communicate with TRA employees, as well as Texas-based

restaurant owners and operators, on a daily basis about issues of importance in the industry, includ-

ing industry trends, concerns, best practices, proposed legislation, and legal compliance. Through




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my work with the TRA, I work closely with Texas restaurant owners and operators, and I am deeply

familiar with the restaurant industry in general and the Texas restaurant industry in particular. This

is typical in my role, and I carefully ensure that we remain attentive and responsive to federal, state,

and local developments that will impact TRA members.

        6.      Throughout the last twenty months, the majority of the TRA’s work has been fo-

cused on helping our members survive the COVID-19 pandemic and comply with the ever-chang-

ing federal, state, and local regulations and guidelines. For example, the TRA developed online

resource centers for restaurants and other foodservice businesses (the “Coronavirus Guidance Re-

sources” and “Texas Restaurant Pandemic Directory”), which TRA staff members continually up-

date with the latest guidance. In addition, over the last twenty months I, along with other TRA staff

members, managed two task forces of key chain and independent restaurant and bar owners; created

the Texas Restaurant Promise and the Texas Bar Promise; developed and launched the first training,

certification, and validation program for restaurants following key safety protocols during the pan-

demic; and continuously worked with state and local officials to keep restaurants open. Throughout

2021, the TRA has also been integrally involved with state and local legislative initiatives impacting

the restaurant industry, and through our work we secured the passage of seven bills that support the

Texas restaurant industry’s recovery.

        7.      I understand that on October 29, 2021, the U.S. Department of Labor, Wage, and

Hour Division (the “Department”) published the Final Rule on the Tip Regulations Under the Fair

Labor Standards Act; Partial Withdrawal (the “Final Rule”), which has the impending effective date

of December 28, 2021. I also understand that the Department issued its Notice of Proposed Rule-

making (“NPRM”) regarding this regulation on June 23, 2021. I have read the Final Rule and I




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have discussed the Final Rule with TRA members, TRA employees, human resources profession-

als, and others in the restaurant industry. The Final Rule finalizes the Department’s amendments

to the dual jobs regulation, which change the Department’s prior regulations and create a new stand-

ard for when an employer can take a tip credit. The Final Rule is the regulation at issue in this case.

        8.      In 1966, when Congress amended the FLSA to create the tip credit, as well as before

and since, many occupations in the restaurant industry such as waiters, waitresses, servers, and

bartenders regularly engaged in, and continue to regularly engage in, duties and responsibilities

referred to as “side work.” I am aware of numerous TRA members, including members doing

business within the Western District of Texas, who take a tip credit and employ waiters, waitresses,

servers, bartenders, and other employees who perform varying amounts of side work, thereby di-

rectly subjecting them to the Final Rule.

        9.      Both before and after the Department’s publication, the Final Rule has consumed a

disproportionate amount of the TRA’s time, and my time in particular, because the Final Rule spe-

cifically applies to Texas restaurant employers who take a tip credit. The TRA has diverted time

and resources as a result of the Final Rule. I, as well as the TRA’s other staff, have spent consid-

erable time addressing member concerns specifically related to the Final Rule’s obligations instead

of discussing questions regarding other member business or regulatory concerns, particularly im-

portant during the COVID-19 pandemic. For example, we dedicated portions of our twice-weekly

email to TRA members to address concerns with the Final Rule in lieu of speaking on other im-

portant topics multiple times before and after the Final Rule was published (including in December

2021, October 2021, July 2021, June 2021, and May 2021). In addition, on August 3, 2021, Kelsey

Erickson Streufert, TRA’s Chief Public Affairs Officer who reports to me, dedicated time to par-

ticipate in the U.S. Small Business Administration’s Office of Advocacy Small Business Labor




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Roundtable rather than complete other pressing tasks so we could better understand industry con-

cerns with the proposal that has now become the Final Rule. Further, TRA staff who report to me

have used valuable time during internal planning meetings to exchange information and ensure staff

are prepared to answer TRA member questions about the Final Rule. At the Restaurant Leadership

Conference in Phoenix, Arizona, December 7-9, 2021, I personally met with members to explain

the Final Rule, and this took time away from networking and other planned business development

activities.

         10.    I, as well as other TRA’s staff who report to me, have also held multiple calls with

TRA members to address the concerns arising from the Final Rule. Specifically, TRA members

subject to the Final Rule have informed me that the Final Rule will impose immediate economic

harms, including substantial burdens and costs to their businesses, to prepare for and comply with

the Final Rule. Specifically, TRA members who are subject to the Final Rule have informed me

that they are concerned about the below significant burdens and additional expenses that they will

incur from the Final Rule:

                a.      Regulatory Familiarization Costs: I have spoken with numerous TRA

members who do not understand the conflicting standards, time limits, and classifications of work-

ers’ tasks in the Final Rule. It is clear that the Final Rule requires more than one hour to read and

understand; restaurant operators need the expertise of a wage and hour attorney to understand and

comply with the Final Rule. However, the vast majority of TRA members are small businesses and

they do not employ an in-house lawyer on their staff and thus, these members need to expend mon-

ies to pay for an attorney to fully understand and comply with the Final Rule. Working out the




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differences between current systems of work classifications and the Final Rule’s proposed classifi-

cations of tasks, as well as resolving ambiguities and inconsistencies in the Final Rule, will result

in substantial costs for TRA members utilizing the tip credit.

                b.      Preparation Costs: TRA members subject to the Final Rule have informed

me, and TRA staff who report to me, that to prepare for the Final Rule they need to undertake a

cost analysis to mitigate the financial impact of the changes to the tip credit in the Final Rule. This

is a time intensive analysis of the tasks performed by employees, the minutes each task is per-

formed, as well as projections of staff for each job position and gross profits. The analysis must be

done on a case-by-case basis for every single of the restaurant’s impacted tipped employees. Com-

pleting this task will require significant work for the restaurant owner, human resources, and man-

agers, which will keep them away from their regular duties. This is especially problematic now,

when TRA members are regularly reporting to me that they do not have enough employees to meet

their current needs.

                c.      Increased Wage Costs: TRA members subject to the Final Rule have in-

formed me, and TRA staff who report to me, of increased wage and labor costs from the Final Rule.

Many of the TRA’s restaurant members claiming the tip credit are small businesses, and their profit

margins are frequently small; so, the increased labor costs often mean the difference between re-

maining open and closing. TRA small business members informed me and my staff that, as a result

of the Final Rule, they will no longer be able to utilize the tip credit and will need to pay the full

minimum wage to many of their employees, which will result in substantial costs that will wipe out

their profit margins. For example, I spoke with a TRA member small restaurant owner with 20

tipped workers who work eight hours a day, five days a week, for 40 weeks per year. The tipped

workers currently earn a tip wage of $2.13 per hour. The restaurant will not be able to use the tip




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credit under the Final Rule and will pay their tipped workers the Texas minimum wage of $7.25

instead of the tipped wage of $2.13. The restaurant will have to spend an extra $163,840 per year,

which would drastically decrease the restaurant’s profit margin and threatens the restaurant’s ability

to keep its doors open. I also spoke with a member who reached out to share that they would pay

the Texas minimum wage and forgo customer tips because their menu prices would rise with the

impact of the Final Rule, and they don’t want their customers to carry the burden of higher menu

prices and tips. This move will negatively impact restaurant workers’ wages.

                d.      Adjustment Costs: I have spoken with TRA members regarding the un-

dertakings they have to perform to comply with the Final Rule. TRA members informed me that

the adjustment tasks are separate, ongoing undertakings that each result in separate costs, time, and

shifts in resources for each restaurant. TRA members subject to the Final Rule need to create pol-

icies, procedures, trainings, new job descriptions, and a new technology (that does not exist) to link

up time-keeping data with job codes, job tasks, and payroll data to comply with the Final Rule. In

addition, TRA members utilizing the tip credit under the Final Rule will also have separate, ongo-

ing, substantial adjustment costs associated with scheduling, categorizing employee tasks, re-as-

signing duties to non-tipped staff, training their managers and staff to learn about and implement

the changes in their workflow, and ongoing monitoring of employees’ activity to ensure that em-

ployees receiving the tipped wage spend less than 20% of their working time or 30 continuous

minutes on certain tasks the Department deems unrelated to their occupation. TRA members con-

firmed that the adjustment costs for the Final Rule are separate, ongoing tasks that vastly exceed

the Department’s one-hour estimate per entity. Many TRA small restaurant members have also

informed me that the costs required to adjust their restaurant business practices to comply with the




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Final Rule will be in the thousands of dollars, which are significant costs that will ultimately lower

their profits.

                 e.      Staffing Costs: I, along with other TRA staff who report to me, have had

numerous conversations with TRA members related to the labor shortage issues in Texas that our

members are currently experiencing. The lack of available staff increases the difficulty of compli-

ance with this Final Rule and imposes extra costs. Many TRA members have business models in

place (that have been in place for generations), that have been built around being able to claim the

tip credit provided for in the FLSA. Many of these TRA members, particularly small restaurant

owners, do not employ separate staff in positions that only complete “side work” tasks because

servers, bartenders, and similar employees regularly engaged in and continue to regularly engage

in duties and responsibilities that the Department refers to as “side work” as part of their occupation.

For example, many TRA members employ bartenders whose job duties include slicing fruit for

drinks, wiping down tables in the bar, cleaning bar glasses, and making special pre-mixes for drinks;

the bartenders can choose to perform these duties before or after customers are actually sitting at

the bar. However, in order to comply with the Final Rule, TRA members need to expend monies

to change their business and staffing models to incorporate the new 20% and 30 minute time limits

on these tasks. For example, some TRA members utilizing the tip credit have informed me that

they will need to expend additional monies to create a new position, hire a new employee, and on-

board and train this staff member to perform tasks that have always been part of their bartender’s

occupation, to comply with the Final Rule. TRA small restaurant owner members have also in-

formed me that they may have to terminate tip-credit eligible employees due to the financial con-

straints imposed by the Final Rule. TRA members have also expressed concern to me that they will

not be able to fill these new jobs with the current labor shortage, severely restricting their ability to




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operate and generate the revenue they need to recover from the economic devastation they experi-

enced as a result of the COVID-19 pandemic.

                  f.    Management Costs: I, along with other TRA staff members, have spoken

with TRA members regarding the management costs and time they have to expend to comply with

the Final Rule. TRA members informed me that their businesses will expend a substantial amount

of time and money on management costs to comply with the Final Rule, which grossly exceeds the

Department’s estimated cost of $376.36 per entity a year or 10 minutes per week. For example, a

TRA restaurant owner member estimated that restaurant managers will need to devote at least 8

hours a week to perform ongoing monitoring of tasks, audits, and correct back pay when tip-credit

eligible employees do not clock in and out correctly by job tasks to comply with this Final Rule.

Another TRA member informed me that it will need to expend monies to hire additional managers

and human resources professionals to perform these additional compliance duties to comply with

the Final Rule.

                  g.    Recordkeeping Costs: TRA members have informed me of their concerns

about the substantial costs they need to incur to create, complete, and maintain new records to prove

compliance with the Final Rule. TRA members have been targets of investigations by the Depart-

ment and subject to costly litigation, which makes proper recordkeeping a significant concern for

TRA members. TRA members informed me that maintaining some form of records that comply

with the Final Rule is imperative to defending the restaurant in any litigation challenging their

compliance with the Final Rule. But, based on my personal knowledge of the restaurant industry

and restaurant operations, there is no practical way for a restaurant employer to keep the task-by-

task records that the Department’s Final Rule would demand to avoid potential liability.




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        11.     TRA members have informed me that it is an impossible time to add these addi-

tional substantial costs and burdens to their business (set forth above) as their operations are just

barely surviving from the COVID-19 pandemic financial losses. I am also personally aware of the

COVID-19 pandemic’s impact on TRA members and the economic pressure it has placed on our

members, which make complying with the Final Rule even more financially devastating for our

members who utilize the tip credit.

        12.     I have seen first-hand and discussed with TRA members how the ongoing pandemic

has financially devastated Texas restaurants. The steady inflation in food costs, ongoing labor

shortages, and supply chain shortages have reversed the restaurant industry’s recovery and further

placed Texas restaurant owners in a precarious position. For example, the National Restaurant

Association conducted a national survey in September 2021 of restaurant owners. The state-level

data collected from Texas restaurant owners found: 72% of Texas restaurant owners do not have

enough employees to support their existing customer demand; 91% of Texas restaurant owners

reported that their restaurant experienced a decline in customer demand for indoor on-premises

dining in recent weeks because of the delta variant; and 89% of Texas restaurant owners reported

that their profit margin is lower now than it was prior to the COVID-19 outbreak. A true and correct

copy of the September 2021 National Restaurant Association COVID-19 Restaurant Impact Sur-

vey, Texas Survey Results is attached as Exhibit A. As many TRA member small restaurant own-

ers have informed me, the increase in wages, staff, management, technology, and other compliance

costs necessitated by the Final Rule will result in the reduction of jobs or closing of the restaurant

altogether due to the financially fragile state of many of our TRA restaurant owner members.

        13.     The TRA has devoted substantial staff time, money, and effort to informing our

members about the Final Rule’s requirements, discussing its potential implications, attempting to




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clarify compliance requirements, and developing educational programs for TRA members. The

time spent on these activities could have been spent on other projects, including advocacy on behalf

of restaurants and preparation of training classes for our members. Specifically, this time could

have been spent developing our agenda for the next Texas legislative session and educating the

public on opportunities to support their local restaurants. Instead, I, as well as other TRA staff

members who report to me, have had to devote time to addressing questions and problems raised

by the Final Rule and its obligations on our members.

         14.     Without these obligations, I would be devoting my time and resources to supporting

TRA members’ efforts to grow their businesses, keeping their doors open during this economically

devastating pandemic, as well as to lobbying local lawmakers to adopt policies that help the Texas

restaurant industry and its employees. The Final Rule has significantly hindered my and other TRA

staff members’ ability to advance these goals, both before and after it was published, and I anticipate

that it will continue to do so in the future.

         15.     I also expect that this diversion of resources will continue indefinitely, as the Final

Rule imposes new obligations on TRA members who utilize the tip credit are subject to the Final

Rule. Furthermore, TRA has received numerous questions from our members regarding the Final

Rule’s new standard to take a tip credit, including how to differentiate between and track the three

categories of work and tasks that the Department deems to fall within (or outside of) its dual jobs

regulation. We expect to continue to have to provide educational and informational services to our

members to navigate questions regarding how to monitor and reclassify the types of tasks that their

restaurant workers perform, as well as how to change their business models, staffing models, and

operations to comply with the Final Rule. For example, if the Final Rule goes into effect, we will




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need to stop other work to draft and publish additional guidance to our members, including a webi-

nar we will likely need to plan for and host. These efforts will require significant time away from

other tasks during the busy holiday season.

         16.     No mechanism exists for the TRA and its members to recover the substantial finan-

cial costs and expenses that they will incur if the Final Rule takes effect and is later invalidated on

the merits during this litigation. The TRA will be forced to spend unbudgeted funds and monies

that it would otherwise spend on critical services to its members, which it cannot recover. TRA

members utilizing the tip credit will also be forced to spend funds and monies that it would other-

wise spend to keep their business alive during this financially devastating pandemic on planning

for and complying with the Final Rule. Once additional monies are paid out to plan and comply

with the Final Rule, including the additional monies to employees (as well as monies expended to

develop new business models, staffing models, trainings, job descriptions, and technology), it can-

not be easily recovered (if at all) even if the Final Rule is later invalidated.

         17.     For all these reasons, I ask the Court to prevent the serious, irreparable harm the

Final Rule would immediately inflict on the TRA and our members we serve.

         I declare under penalty of perjury and the laws of the United States, including 28 U.S.C.

 § 1746, that the foregoing is true and correct.

         Executed this 17 day of December 2021 in Dallas, Texas



                                                     Emily Williams Knight
                                                              Dr. Emily Williams Knight, Ed.D.




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                EXHIBIT A
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   Updated Texas Restaurant Promise: Learn More (https://www.txrestaurant.org/texas-restaurant-promise)
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News
New Data Confirms that Texas Restaurants Are Still In a Precarious Position, with Recovery Reversing for Many


Austin, TX (Sep. 30, 2021) – New data released this week confirms that the restaurant industry’s recovery has reversed,
putting businesses large and small in a precarious position heading into winter.

According to a survey of operators conducted by the National Restaurant Association from September 7-15, 2021, nationally:

  A majority of fullservice and limited-service operators say business conditions are worse now than three months ago;
                   Case 1:21-cv-01106-RP Document 12-1 Filed 12/20/2178% of operators
                                                                       Page  19 of 93say their restaurant
   Sep 30                                                                                 doesn’t have enough employees to
    2021                                                                                  support current customer demand;
                                                                                          Costs are up across the board—91%
                                                                                          of operators are paying more for food;
                                                                                          84% have higher labor costs; and 63%
                                                                                          are paying higher occupancy costs;
                                                                                          and
                                                                                          Profitability remains down with 85%
                                                                                          of operators reported smaller margins
                                                                                          than before the pandemic.

                                                                                          State-level data confirms a similarly
                                                                                          bleak picture in Texas, where:

  72% of operators say their restaurant currently does not have enough employees to support its existing customer demand;
  91% of operators say their restaurant experienced a decline in customer demand for indoor on-premises dining in recent
  weeks because of the Delta variant; and
  89% of Texas operators say their profit margin is lower than it was prior to the COVID-19 outbreak.

Adding to restaurants’ anxiety is the uncertainty coming from Washington, D.C., where lawmakers are considering several tax
increases that would be devastating for small, midsize, and family-owned restaurants in particular. The National Restaurant
Association sent a letter to Congress yesterday outlining the latest, troubling data and our concern that tax increases will
further undermine restaurants’ hard-fought recovery effort.

“The Texas Restaurant Association joins our colleagues at the National level in urging Congress to help, not hurt, restaurants
in this critical phase of the pandemic,” said Dr. Emily Williams Knight, Ed.D., President & CEO of the Texas Restaurant
Association. “Our members have shown incredible grit, determination, and innovation, and they deserve every opportunity
to rebuild their business so they can continue to serve their communities for years to come.”

Read more about the latest data and our industry’s letter to Congress here (https://restaurant.org/restaurants-to-congress-
recovery-in-reverse).

About the Texas Restaurant Association
Formed in 1937, the Texas Restaurant Association (TRA) serves as the advocate in Texas and the indispensable resource for
the foodservice industry. As a leading business association, the TRA represents the state’s $70 billion restaurant industry,
which is comprised of more than 50,000 locations and a workforce of over 1.3 million employees. Along with the Texas
Restaurant Foundation, the workforce development arm of the TRA, the Association proudly continues to protect, advance,
and educate a growing industry as the TRA enters its 85th anniversary year.

  (https://www.addtoany.com/share#url=https%3A%2F%2Fwww.txrestaurant.org%2Fnews%2Fnew-data-confirms-texas-rest
many&title=New%20Data%20Confirms%20that%20Texas%20Restaurants%20Are%20Still%20In%20a%20Precarious%20Posit
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


RESTAURANT LAW CENTER, ET AL.,

                 Plaintiffs,

        v.                                                     Civil Action No. 21-1106

UNITED STATES DEPARTMENT OF LABOR, ET
AL.,

                 Defendants.



                               DECLARATION OF ANGELO AMADOR

        I, Angelo Amador, hereby declare and state:

        1.       I am Oa^^QZ`Xe QY\X[eQP Ne `TQ FQ_`Ma^MZ` AMc 9QZ`Q^ &iFA9j' M_ Executive Di-

rector, an independent 501(c)(6) affiliated with the National Restaurant Association. I have held

my current position since RLCks official incorporation on September 30, 2016.1 In that capacity, I

XQMP MZP YMZMSQ MXX [R FA9k_ engagement in public affairs and public-policy related matters at the

federal, state, and local level. As such, I have in-depth knowledge of the operations of the RLC, its

members, and the facts and circumstances set forth herein.

        2.       I am over the age of 18 years old. All of the facts set forth in this declaration are

based on my personal knowledge. ? _aNYU` `TU_ :QOXM^M`U[Z UZ _a\\[^` [R EXMUZ`URR_k B[`U[Z R[^

Preliminary Injunction. If called upon to testify as to the facts stated herein as a witness, I could

and would competently testify under oath.




1
 Certificate of Incorporation issued by the Government of the District of Columbia, Department of Consumer and
Regulatory Affairs, Corporations Division.




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        3.      The RLC was officially established in 2016 as an independent public policy organ-

ization supporting the restaurant and food-service industry across the United States. While the RLC

is its own independent organization with its own Board of Directors, all members in good standing

with the National Restaurant Association and State Restaurant Associations are members of the

RLC. As such, RLC represents an industry that includes over one million restaurant and food-

service outlets employing approximately 14.7 million employees, or approximately 10% of the

c[^WR[^OQ UZ `TQ IZU`QP G`M`Q_* FA9k_ YQYNQ^_ UZOXaPQ Y[^Q `TMZ 0++(+++ ^Q_`Ma^MZt businesses

located across the United States.

        4.      The FA9k_ main purpose is to support the restaurant industry and our 500,000 plus

restaurant members in starting, developing, and growing their business. RLC accomplishes this

objective through numerous channels, including through direct outreach efforts on behalf of our

members, by hosting educational and informational meetings, conferences, seminars, and webinars,

by submitting regulatory comments at the federal, state, and local level, and by helping our mem-

bers navigate their legal and regulatory obligations.

        5.      As Executive Director for RLC, I serve as its primary spokesperson on behalf of

the industry and I lead and YMZMSQ `TQ FA9k_ QZSMSQYQZ` UZ \aNXUO MRRMU^_ MZP \aNXUO-policy-re-

lated matters at the federal, state, and local level, including Texas. I have been integrally involved

UZ FA9k_ XQSU_XM`UbQ MZP ^QSaXM`[^e UZU`UM`UbQ_( MZP ? MY M WQe XUMU_[Z cU`T bM^U[a_ restaurant indus-

try affiliates. Each of the legislative and regulatory initiatives that I manage require significant

study, time, attention, and RLC resources in order to analyze its effects on the industry, hear our

YQYNQ^_k O[ZOQ^Z_( MZP aX`UYM`QXe \Q^_uade legislators and the public to support or oppose that

measure.




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        6.      During the last twenty months, a great deal of the work of the RLC has been to help

restaurants cope with the COVID-19 pandemic and the barrage of ever-changing federal, state, and

local regulations and guidelines. To demonstrate the scope of the efforts I manage, earlier in 2021

RLC co-produced and disseminated a Restaurant Industry State Vaccine Tracker looking at each

_`M`Qk_ PU_`^UNa`U[Z \XMZ cU`T \M^`UOaXM^ M``QZ`U[Z M_ `[ cTQ^Q ^Q_`aurant workers were in the vac-

cination queue and the employer responsibilities to expedite the process. We also produced and

distributed official return to work guidelines for food service establishments, updated at least twice

a week, looking at federal, state, and local requirements.

        7.      In addition, the RLC conducts frequent webinars to assist our members with com-

pliance issues and, here again, the last twenty months has seen us concentrating on the impact of

the COVID-19 pandemic. Some of the most recent webinars in which I have participated included

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DG>7 9[Y\XUMZOQ5 >[c `[ D\Q^M`Q GMRQXe UZ `TQ EMZPQYUOj UZ 7\^UX -+-,*

        8.      As Executive Director for RLC, I also communicate wU`T FA9k_ YQYNQ^_ [Z M

daily basis about issues of importance in the industry, including industry trends, concerns, best

practices, proposed legislation, and compliance with rules and regulations. Through my work with

RLC, I work closely with restaurants, and I am deeply familiar with the restaurant industry in gen-

eral and the Texas restaurant industry in particular. This is typical in my role, and along with my

colleague, I carefully ensure that we remain attentive and responsive to these developments nation-

wide.

        9.      However, over the last six months one regulatory initiative by the U.S. Department

of Labor, Wage and Hour Division &`TQ i:Q\M^`YQZ`j' has consumed a very significant portion of

my time and some weeks it has consumed the vast majority of my (and my subordinateks) time: the




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Tip Regulations Under the Fair Labor Standards Act; Partial Withdrawal &`TQ iHU\ FQSaXM`U[Z_j'.

The Department issued its Notice of Proposed Rulemaking &iCEFBj' regarding the Tip Regula-

tions on June 23, 2021 and then published the Final Rule on October 28, 2021 &`TQ i<UZMX FaXQj'*

I have read the NPRM and Final Rule. The Final Rule RUZMXUfQ_ `TQ :Q\M^`YQZ`ks amendments to

the dual jobs regulation, which change the :Q\M^`YQZ`k_ \^U[^ ^QSaXM`U[Zs and create a new standard

for when an employer can take a tip credit. The Final Rule is the regulation at issue in this case.

        10.     8[`T NQR[^Q MZP MR`Q^ `TQ :Q\M^`YQZ`k_ \aNXUOM`U[Z, the Final Rule has consumed a

PU_\^[\[^`U[ZM`Q MY[aZ` [R `TQ FA9k_ `UYQ( MZP Ye `UYQ UZ \M^`UOaXM^( NQOMa_Q the Final Rule spe-

cifically applies to restaurant employers who take a tip credit. I am aware of numerous national

restaurant chains and small business owners that would be subject to the Final Rule, including

members of the RLC and the Texas Restaurant Association.

        11.     8[`T NQR[^Q MZP MR`Q^ `TQ :Q\M^`YQZ`k_ \aNXUOM`U[Z [R `TQ <UZMl Rule, I have spent

considerable time addressing member concerns specifically related to the <UZMX FaXQk_ obligations

instead of discussing questions regarding other jurisdictions or other member business or regulatory

concerns, particularly important during the COVID-19 pandemic. For example, during the last two

RLC Board of Directors meetings on September 23, 2021 and on November 3, 2021, I addressed

numerous questions related to the Final Rule in lieu of speaking on several other important topics.

        12.     Similarly, on July 11-13, 2021, I traveled to San Antonio, Texas to speak with our

Texas members at the Texas Restaurant Associationk_ BM^WQ`\XMOQ 9[ZRQ^QZOQ* While we had

\XMZZQP `[ PU_Oa__ M bM^UQ`e [R `[\UO_ ^QSM^PUZS [a^ YQYNQ^_k O[ZOQ^Z_ MN[a` `TQU^ Na_inesses and

the regulatory environment, like immigration and business interruption insurance during COVID-

19, the Final Rule came up numerous times. The RLC was required to truncate its coverage of

other topics in order to address the Final Rule.




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        13.     I have held multiple calls with members to address the concerns arising from the

Final Rule. Our RLC members have informed me that they are concerned the Final Rule will im-

pose a significant burden and expense on restaurant employers who are subject to the Final Rule.

Specifically, RLC members have informed me that they are concerned about the substantial in-

creased wage costs, regulatory familiarization costs, preparation costs, adjustment costs, staffing

costs, business management costs, and recordkeeping costs to prepare for and comply with the Final

Rule (which are described further below). One specific call during which I remember discussing

these topics took place on August 3, 2021. The call on August 3, 2021, was hosted by the Small

Business Administration Office of Advocacy and I co-presented with Jessica Looman, Principal

Deputy Administrator, Wage and Hour Division, U.S. Department of Labor. Several member res-

taurants and State Restaurant Associations participated in that call.

        14.     I also remember specifically discussing these topics with members before and after

the call on August 3, 2021, as many of our members wanted to understand the rule before submitting

regulatory comments on the NPRM. In the end, of the 1,865 total comments submitted, 1,456 were

submitted by restaurant advocateshabout 78% of all commentshgenerally reiterating the issues

outlined in this Declaration.

        15.     The RLC has devoted substantial staff time, money, and effort to informing our

members about the <UZMX FaXQk_ ^Q]aU^QYQZ`_( PU_Oa__UZS its potential implications, attempting to

clarify compliance requirements, and developing educational programs for RLC members. We

have been required to shift advocacy efforts and other resources at the RLC in order to oppose the

Final Rule with which we and our members disagree.

        16.     A direct consequence of having to devote time, money, and other resources to com-

bating the effects of the Final Rule is that we have been unable to advocate as effectively as planned




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for policies in other jurisdictions that we and our members believe would help their businesses. For

example, I have been unable to attend meetings and provide strategic advice to members regarding

our opposition to a New York bill that limits data sharing by food service establishments and food

delivery applications. In another example, I was unable to get involved in opposing local natural

gas bans in California and provide strategic advice to members in other jurisdictions facing similar

issues regarding our opposition to such bans. Instead, I have had to devote myself to addressing

questions and problems raised by the Final Rule and its obligations on our members and downgrade

the priority level of other issues to deal with the Final Rule.

        17.     I expect that this diversion of resources will continue indefinitely, as the Final Rule

not only imposes new obligations on our Texas members, but all members who currently take a tip

credit throughout the nation. Furthermore, we have received questions from our members regarding

`TQ <UZMX FaXQk_ new standard to apply in order to take a tip credit, including how to differentiate

between and track the three categories of work and tasks that the Department deems to fall within

(or outside of) its dual jobs regulation. We expect to continue to have to provide educational and

informational services to our members to navigate questions regarding how to monitor and reclas-

sify the types of tasks that restaurant workers perform, as well as how to change their business

models, staffing models, and operations to comply with the Final Rule.

        18.     Without these obligations, I would be devoting my time and resources to supporting

[a^ YQYNQ^_k QRR[^`_ `[ S^[c `TQU^ Na_UZQ__Q_, keeping their doors open during an economically

devastating pandemic, as well as to lobbying local lawmakers in other jurisdictions to adopt policies

that help the restaurant industry and its employees. The Final Rule has significantly hindered my

ability to advance these goals, both before and after it was published, and I anticipate that it will

continue to do so in the future.




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         19.     The Final Rule will impose significant burden and expense on RLC members who

take a tip credit and thus, are subject to the Final Rule. RLC members have informed me that they

are concerned about the immediate economic harm, including the substantial costs to their busi-

nesses, experienced by this Final Rule. Specifically, RLC members who are subject to the Final

Rule have informed me that they are concerned about the significant burdens and additional ex-

penses outlined below that they will incur:

                 a.      Regulatory Familiarization Costs: The Final Rule is complex and most

RLC small restaurant members do not have human resources staff or in-house attorneys to help

understand and comply with the Final Rule, particularly with the impending December 28, 2021

effective date. I confirmed with RLC members subject to the Final Rule that this rule requires more

than one hour (per entity) to read and become familiarized with the Final Rule. Instead, it takes the

level of understanding of a wage and hour attorney to understand how to categorize the <UZMX FaXQk_

three classifications of w[^WQ^_k `M_W_htipped work, work that directly supports tipped work, and

non-tipped work. The Final Rule also provides inconsistent guidance between different occupa-

tions such as waiter, bartenders, and busser; some tasks such as cleaning tables and preparing food

and garnishes can be considered a tipped job, directly supporting tipped work, or a non-tipped job

depending [Z `TQ QY\X[eQQk_ V[N `e\Q* Working out the differences between current systems of

work classifications and the <UZMX FaXQk_ proposed classifications of tasks as well as resolving am-

biguities and inconsistencies in the Final Rule will result in substantial costs for RLC members

subject to the tip credit.

                 b.      Preparation Costs: In order to mitigate the potential financial impact of

the changes to the tip credit in the Final Rule, RLC members subject to the Final Rule must deter-




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mine whether it would be more cost effective to not utilize the tip credit at all or pay the full mini-

mum wage to these employees, the extra wage costs from the 30-minute increments of non-tipped

work, and the extra staffing needed to cover non-tipped wages. This is a time intensive analysis of

the tasks performed by these employees, the minutes each task is performed, as well as projections

of staff for each job position and gross profits. The analysis must be done on a case-by-case basis

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significant work for the restaurant owner, human resources, and managers, which will keep them

away from their regular duties. Due to the individualized nature of the cost analysis, the cost of

this effort in either lost productivity or actual additional expenses cannot be fully accounted for, but

it is anticipated to be substantial.

                 c.      Increased Wage Costs: RLC members subject to the Final Rule have in-

formed me of increased wage costs from the Final Rule. RLC small business members informed

me that that as a result of the Final Rule, they will no longer be able to utilize the tip credit as they

do not have the resources to track and keep records of time spent by tipped workers from one task

to the next in each of the three new categories and will, therefore, need to pay the full minimum

wage to these employees. Switching tipped employees into minimum wage employees will result

in substantial costs to RLC restaurant members currently taking a tip credit. For example, I spoke

with an RLC member and small restaurant owner in Virginia and made the cost calculation of

switching 35 tipped employees working eight hours shifts, five days a week, for 50 weeks per year.

The tipped workers would currently earn a tip wage of $2.13 per hour. The restaurant will not be

able to use the tip credit under the Final Rule and will pay their tipped workers the Virginia mini-

mum wage of $7.25 instead of the tipped wage of $2.13. The restaurant will have to spend an extra

$286,720 per yearheating at an already thin profit.




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                d.      Adjustment Costs: I have spoken with RLC members regarding the labo-

rious undertakings they have to perform to comply with the Final Rule. RLC members confirmed

that the adjustments costs for the Final Rule vastly exceed the :Q\M^`YQZ`k_ one-hour estimate per

entity. The adjustment tasks are separate undertakings that each result in separate costs, time, and

shifts in resources for each restaurant. For example, a larger restaurant member informed me that

the restaurant needs to shift a tremendous amount of resources in order to build a team comprised

of employees from the information technology department, human resources department, payroll

department, legal department, and operations department to rapidly work to create policies, proce-

dures, trainings, new job descriptions, and a new software (that does not exist) to marry time keep-

ing data with job codes, job tasks, and payroll data. Even a sophisticated time-keeping software

program, which costs thousands of dollars to purchase, would not be a perfect system because em-

ployees would still have to punch in and punch out of this system when changing between tasks.

         RLC members utilizing the tip credit under the Final Rule will also have separate, ongoing,

substantial adjustment costs associated with scheduling (to minimize extra wage costs), categoriz-

ing employee tasks and re-assigning duties to non-tipped staff (as restaurants continually change

menu items), training their managers and staff to learn about and implement the changes in their

workflow, MZP [ZS[UZS Y[ZU`[^UZS [R QY\X[eQQ_k activity (to ensure that employees receiving the

tipped wage spend less than 20% of their working time or 30 continuous minutes on certain tasks

the Department deems unrelated to their occupation). Many small restaurant members have in-

formed me that the costs required to adjust their restaurant business practices to comply with the

Final Rule will be in the thousands of dollars, which are significant costs that will ultimately lower

their profits, as small restaurant members do not have excess money available to shift to cover these

costs.




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                e.      Staffing Costs: I have received numerous calls from RLC members related

to the major labor shortage issues that our members are currently experiencing. The lack of avail-

able staff increases the difficulty of compliance with this Final Rule and imposes extra costs. RLC

members subject to the Final Rule have informed me that they will need to expend additional mon-

ies to develop new business and staffing models, which include expenses to hire, on-board, and

train extra staff needed to comply with the Final Rule (for example, some RLC members may hire

additional employees in utility positions that receive the full minimum wage). RLC small business

members have also informed me that they may have to terminate employees presently in tipped

positions due to the financial constraints imposed by the Final Rule.

                f.      Management Costs: I have spoken with RLC members regarding the man-

agement costs and time they have to expend to comply with the Final Rule. RLC members informed

me that their businesses will expend a substantial amount of time and money on management costs

to comply with the Final Rule, which gro__Xe QdOQQP_ `TQ :Q\M^`YQZ`k_ Q_`UYM`QP O[_` [R $.21*.1

per entity a year or 10 minutes per week. For example, a Chief Legal Officer for a RLC restaurant

group member estimated at least 10 hourshnot 10 minutes, as estimated by the Departmentha

week for restaurant managers to comply with this Final Rule. Another RLC member informed me

that it will need to expend monies to hire additional managers to perform ongoing monitoring of

tasks, audits, and correct back pay when servers, bartenders, and bussers do not clock in and out

correctly by job tasks to comply with the Final Rule.

                g.      Recordkeeping Costs: ? TMbQ MX_[ PU_Oa__QP FA9 YQYNQ^_k O[ZOQ^Z_

about the substantial costs they need to incur to create, complete, and maintain new records to prove

compliance with the Final Rule. RLC members informed me that maintaining records that comply

with the Final Rule is imperative to defending the restaurant in any litigation challenging their




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compliance with the Final Rule. I remember specifically discussing this topic with an RLC member

on November 3, 2021.

        20.     RLC members have informed me during phone calls and meetings that the Final

FaXQk_ RUZMZOUMX PMYMSQ `[ `TQU^ Na_UZQ__es is compounded by the COVID-19 pandemic. I have

seen first-hand and discussed with RLC members how the coronavirus pandemic has financially

devastated the restaurant industry. The ongoing labor shortages, inflation increasing the price of

food, and supply chain shortages TMbQ Ra^`TQ^ PU_YMZ`XQP `TQ ^Q_`Ma^MZ` UZPa_`^ek_ R^MSUXQ ^QO[bQ^e

from the pandemic-induced shutdowns and forced restaurants to continually adjust to find ways to

preserve an acceptable profit margin. For example, the National Restaurant Association conducted

a survey in September 2021 of 4,000 restaurant owners, which found that 85% of restaurant owners

reported that their profit margin is lower than it was prior to the pandemic; 95% of restaurant oper-

ators reported that their restaurant experienced food or beverage supply delays or shortages during

the past three months; 91% of restaurant owners reported that their total food costs are higher than

they were prior to the pandemic; 84% of restaurant owners reported that their total labor costs are

higher than they were prior to the pandemic; 78% of restaurant owners reported that their restau-

rants currently do not have enough employees; and 63% of restaurant owners reported their sales

volume in August 2021 was lower than it was in August 2019. A true and correct copy of the

September 2021 National Restaurant Association COVID-19 Restaurant Impact Survey is attached

as Exhibit A.

        21.     RLC members have informed me that it is an impossible time to add these addi-

tional substantial costs and burdens to their business, chronicled above, as their operations are just

barely surviving from pandemic financial losses. As many small restaurant owners and RLC mem-

bers have informed me, the increase in wages, staff, management, technology, and other compliance




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costs necessitated by the Final Rule will result in the reduction of jobs or closing of the restaurant

altogether.

        22.     No mechanism exists for the RLC and its members to recover the substantial finan-

cial costs and expenses that they will incur if the Final Rule takes effect and is later invalidated on

the merits during this litigation. The RLC will be forced to spend unbudgeted funds and monies

that would otherwise be spent on critical services to its members. RLC members will also be forced

to spend funds and monies that it would otherwise spend to keep their doors open during an eco-

nomically devastating pandemic on planning for and complying with the Final Rule. Once addi-

tional monies are paid out to plan and comply with the Final Rule, including the additional monies

to employees, it cannot be easily recovered (if at all) even if the Final Rule is later invalidated.

        23.     For all these reasons, I ask the Court to prevent the serious, irreparable harm the

Final Rule would immediately inflict on RLC and the members we serve.

        I declare under penalty of perjury and the laws of the United States, including 28 U.S.C.

 § 1746, that the foregoing is true and correct.

        Executed this 9th day of December 2021 in the County of Stafford, Commonwealth of

 Virginia.




                                                    Angelo Amador




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                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION

            RESTAURANT LAW CENTER, ET AL.,

                             Plaintiffs,

                     v.                                               Civil Action No. 21-1106

            UNITED STATES DEPARTMENT OF LABOR, ET
            AL.,

                             Defendants.


                                           DECLARATION OF TRACY VAUGHT

                     I, Tracy Vaught, hereby declare and state:

                     1.      I am the president of H-Town Restaurant Group, which is a restaurant group that

           owns and operates five restaurants located in Texas. I am also a member of the Texas Restaurant

           Association. As the president of H-Town Restaurant Group, I oversee the finances, staffing, and

           operations of our restaurants.

                     2.      I am over the age of 18 years old. All of the facts set forth in this declaration are

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           Preliminary Injunction. If called upon to testify as to the facts stated herein as a witness, I could

           and would competently testify under oath.

                     3.      I understand that the Department of Labor published a Final Rule that makes huge

           changes to the tip credit, which I am very concerned about as my restaurant group currently takes

           a tip credit for certain tipped employees at our restaurants. I understand that the Final Rule goes

           into effect on December 28, 2021 and the Final Rule is the regulation at issue in this case.




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                     4.      For many years, our restaurants have been taking a tip credit, which is provided for

           in the FLSA, for certain employees, including our waiters and waitresses. While taking the tip

           credit, our waiters and waitresses have still been the highest paid job in the restaurant. However,

           as explained further below, the Final Rule completely changes our ability to take a tip credit, which

           changes everything for our restaurants.

                     5.      The Final Rule creates immediate harms, including huge burdens and costs to our

           restaurants, to prepare for and comply with the Final Rule. For example, because of the Final Rule,

           our restaurant group may not be able to take the tip credit at all, as it is impossible to comply with

           the Final Rule and keep track of exactly how much time our tipped employees spend on different

           tasks throughout a shift (as our tipped employees are constantly shifting back and forth between

           many tasks as they perform their job). If our restaurant group no longer takes a tip credit, we will

           spend close to one million dollars extra per year on labor, which drastically decreases our restau-

           [JW]\e Y[XOR] VJ[PRW\ JWM ]Q[NJ]NW\ ]QN JKRUR]b ]X TNNY all of our doors open and staff employed.

           Once our restaurant group spends these monies, we cannot get the million dollars back.

                     6.      We will also need to consult with our attorney, accountants, and POS system ad-

           ministrator to further figure out how or if it is even possible to comply with the Final Rule. This is

           a big burden and financial hit on not just my restaurant group, but all restaurateurs who take a tip

           credit. Jeopardizing our livelihoods as restaurants by making it so difficult and costly to prepare for

           these new tip credit regulations is just a really big, impossible struggle for us that will cause undue

           hardship to our businesses.

                     7.      The Final Rule also has ongoing compliance costs that will hit our businesses really

           hard right now. The last thing any restaurant wants right now is to be sucked into litigation. Res-




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           taurant owners, like my restaurant group, are law-abiding persons and just want to run a good busi-

           ness for the public to enjoy. Because the Final Rule is full of so many traps that restaurants will

           need to side step, we will need to constantly stay vigilant and monitor compliance. We also need

           to spend time and money to change our business models and staffing models, which have been in

           place for many years, to find a way to comply with the Final Rule. This is not an easy task, but one

           that will require more time, resources, and money that are simply not available. The costs required

           to make these drastic changes to X^[ [N\]J^[JW]\e business practices to comply with the Final Rule

           will be in the thousands of dollars, which again will just lower our profits.

                     8.      It is also an impossible time to add these additional substantial costs and burdens

           to my restaurant group and our restaurants, as our operations are just barely recovering from the

           COVID-19 pandemic financial losses. Right now food prices are sky rocketing, the job market is

           very tight, wages have also gone way up, and restaurants have increased competition with grocery

           storese Y[RLN\( In addition, going to restaurants is optional; it is not a service that everyone needs.

           When prices move up beyond a certain level, people will stop coming to restaurants, as they can

           cook at home or buy prepared goods at the grocery store. We are price sensitive and prices are our

           competitive advantage. To stay viable, we need to control menu prices. Prices have been pushed up

           steeply recently due to labor shortages, the subsequent hike in wages, and higher prices for goods

           and services due to shortages. Further increases in our menu prices, which are the result of the

           increased costs from this Final Rule, will endanger our industry.

                     9.      The COVID-19 pandemic has also financially devastated Texas restaurants, and

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           to the office, so this kills restaurant lunches, and our profits. Adding the challenges and costs to

           comply with the Final Rule is simply not possible right now for my restaurant group and many




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